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    ROBINSON BROG LEINWAND GREENE                                 Hearing Date: August 26, 2021
    GENOVESE & GLUCK P.C.                                         Hearing Time: 10:00 A.M. (ET)
    875 Third Avenue
    New York, New York 10022
    Tel. No.: 212-603-6300
    Fred B. Ringel
    Steven B. Eichel
    Attorneys for the Debtor and Debtor in
    Possession

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ----------------------------------------------------------X

    In re:                                                        Chapter 11

    286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298 (LGB)

                                               Debtor.
    ----------------------------------------------------------X

       286 RIDER AVE ACQUISITION LLC’S (I) RESPONSE TO MOTION OF 286
       RIDER AVE DEVELOPMENT LLC TO (A) DISMISS BANKRUPTCY CASE
        PURSUANT TO 11 U.S.C. §§ 105, 305 AND 1112, (B) FOR TURNOVER OF
        CERTAIN MEMBERSHIP INTERESTS UNDER 11 U.S.C. § 543 AND (II)
         JOINDER TO LENDER’S RESPONSE TO THE MOTION TO DISMISS

             Debtor 286 Rider Ave Acquisition LLC (“286 Rider” or “Debtor”), by its counsel,

submits this (I) response (“Response”) to the motion (“Motion”) of 286 Rider Ave

Development LLC (“Development”), the Debtor’s former equity holder (A) to Dismiss

Bankruptcy Case Pursuant to 11 U.S.C. §§ 105, 305 and 1112, (B) seeking Turnover

of Certain Membership Interests Under 11 U.S.C. § 543 and (II) Joinder to Lender’s

Response to the Motion to Dismiss.                        In support of this Response, the Debtor

respectfully represents as follows1:


1Be-Aviv 286 Rider LLC, the Debtor’s pre-petition senior secured lender will be filing a response to
the Motion made by Development. As a result, there may be some overlap in the factual recitals and
the legal arguments advanced by the parties.

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                               PRELIMINARY STATEMENT

        1.       While Be-Aviv 286 Rider LLC, (“Be-Aviv” or “Lender”), the Debtor’s pre-

petition senior secured lender, addresses the arguments made by Development over

enforcement of a Pledge Agreement (hereinafter defined) in its response, the Debtor

is constrained to respond to Development’s inflammatory “the sky is falling” rhetoric

that claims this Court, by allowing Be-Aviv, and by extension, the Debtor, to proceed

with this chapter 11 case, the Court would unleash a “parade of horribles” that will

allow lenders to “run roughshod over borrower’s equity of redemption and due process

rights.” Development alleges that the course followed by the Lender here diverts “so

far over the line” from “typical,” and in Development’s value judgment, “appropriate”

creditor enforcement schemes, and that such strategic enforcement action should

never be permitted. Motion at pp. 1-2.

        2.       If that were not enough, Development then implores this Court to ignore

the parties’ validly executed loan documents and stop this bankruptcy case from

continuing, because, if the case is permitted to continue, “nothing” will stop any

lender who desires to avoid having to conduct a UCC Article 9 sale or judicial

foreclosure action from merely exercising a pledge of the borrower’s equity interests.

Id.

        3.       What Development fails to appreciate is that the direction pursued by

Be-Aviv is precisely the conduct that a secured creditor may pursue, and indeed is

entitled to pursue, as part of its bundle of enforcement options where it holds a

secured claim that includes a pledge of a borrower’s membership interests. While



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many lenders holding a mortgage and a pledge choose a strategy of a judicial

foreclosure or a UCC sale, they do not have to do so after their borrower defaults.

Suppose the loan documents permit a transfer of the Debtor’s membership interests

upon default, as they do here. In that case, Article 9-601 of the UCC respects the

borrowers’ and lenders’ freedom to contract and sets out the lenders’ enforcement

rights and borrowers’ obligations under a pledge agreement after a default, just as

Be-Aviv and Development have in this case. Enforcement by Be-Aviv of its Pledge

Agreement (defined below) by transferring Development’s membership interests to

itself is permissible and contemplated under the parties’ agreement as embodied in

their Loan Documents2 and as contemplated by Article 9 of the UCC.

        4.       Article 9-601(a) of New York’s version of the Uniform Commercial Code

provides “[a]fter default, a secured party has the rights provided in this part and,

except as otherwise provided in Section 9-602, those provided by agreement of the

parties. . .” Simply put, and as will be addressed later herein and by Be-Aviv, once

the Debtor failed to repay the $8,000,000 it borrowed from Be-Aviv by the extended

maturity date as set forth in the default notice sent to it on March 2, 2021, Be-Aviv

was free to proceed down whichever strategic collection path it determined was in its

best interests including enforcing its rights under the Pledge Agreement which were

“… the rights … provided by the [pledge agreement] of the parties….” As discussed

below and in the Lender’s Response to the Motion (“Lender Response”), nothing in



2The term “Loan Documents” is defined to include the Note, (as amended by the First Amendment to
Promissory Note), Pledge Agreement, Mortgage, and all other documents evidencing or securing the
Loan including the Written Consent and Document Re-Execution Agreement.”

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Article 9 of the UCC or foreclosure law requires a secured lender whose borrower has

defaulted to foreclose on its mortgage or conduct a UCC Article 9 sale when the UCC

permits it to enforce its bargained-for rights under a pledge agreement.

        5.       Development is a disgruntled former owner of the Debtor. It is seeking

an order (i) dismissing the Debtor’s bankruptcy case under §§ 105, 305 and 1112 of

title 11 of the United States Code (as amended, the “Bankruptcy Code”) and (ii) for

turnover of all the Membership Interests (defined below) in the Debtor to it.3

Specifically, Development contends that the Debtor’s bankruptcy case should be

dismissed for these reasons:

                 (i)      the Membership Interests Pledge Agreement dated as of
                          September 19, 2019 (the “Pledge Agreement”) was defective
                          because it was not signed by the proper party with authority to
                          bind pledgor Development;

                 (ii)     Lender has “weaponized” its defective pledge to commence a
                          bankruptcy case to sell its real estate collateral, allowing Lender
                          to avoid (a) the consequences of its purported bad faith pre-
                          petition conduct, (b) its purported default in the State Court
                          Action (defined below); and (c) due process inherent in a state law
                          foreclosure action or UCC sale;

                 (iii)    Lender has acted improperly by clogging the pledge/borrower’s
                          equity of redemption;

                 (iv)     the case is a two-party collection dispute for which there is no
                          proper purpose for a bankruptcy case;



3 The Development Notice of Hearing for the Motion [ECF Doc. No. 17] (“Notice”) seeks the turnover
of “certain” Membership Interests to Development while the proposed order seeks the turnover of
“possession of the membership interests in the Debtor”, or apparently 100% of such interests. Notice
at p. 1. The Proposed Order also seeks other relief not requested in the Notice or in the Motion
including (i) the immediate termination of all professionals retained by the estate, (ii) the payment of
any United States Trustee Fees, (iii) that the order is immediately effective and (iv) for a waiver of
the 14-day period provided for under Bankruptcy Rule 6004(h). Since Development failed to give
notice of the request for this relief in its Motion, such relief should not be entertained by the Court.

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                 (v)      the bankruptcy case is a disguised involuntary proceeding where
                          the debt is in bona fide dispute;

                 (vi)     the Court should abstain from hearing the case under Section 305
                          of the Bankruptcy Code and then dismiss it.

        6.       Development also seeks an order from this Court directing the Lender

to turn over the Membership Interests in the Debtor to Development under Section

543 of the Bankruptcy Code.

        7.       In short, the Motion should be denied because:

                 (i)      The Pledge Agreement was not defective and was validly
                          executed.

                          (a)    Although Development claims no consent was entered into
                                 authorizing execution of the Pledge Agreement by Toby
                                 Moskovits (“Moskovits”), the statement is simply incorrect.
                                 At the closing of the Loan (“defined below”), a document
                                 entitled “Written Consent in Lieu of a Meeting” was
                                 executed authorizing, inter alia, Moskovits as “Authorized
                                 Signatory” to execute and deliver on behalf of Development
                                 and the Debtor, as applicable, without limitation, the Loan
                                 Documents and the Pledge Agreement, and any security
                                 agreements;

                          (b)    At Closing the Debtor, Development, Moskovits and
                                 Michael    Lichtenstein   (“Lichtenstein”)   individually
                                 executed a “Document Re-Execution Agreement” pursuant
                                 to which they agreed to re-execute any document or
                                 instrument which was incorrectly drafted and/or signed in
                                 connection with the Loan at Closing, which would include
                                 the Pledge Agreement (had it been improperly executed,
                                 which it was not); and

                          (c)     as a matter of equity, Development may not reap the
                                 benefit of the Loan by its purposeful action in having an
                                 allegedly unauthorized representative of Development
                                 execute the Pledge Agreement and then claiming it is not
                                 bound by the Pledge Agreement;




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                 (ii)    the Lender properly exercised its rights under the Pledge
                         Agreement as a secured creditor after a default under the
                         Uniform Commercial Code, including section 9-601(a);

                 (iii)   the right of redemption belongs to the Debtor and its estate, and
                         no actions taken by the Lender, or any other party, clogged the
                         right of redemption;

                 (iv)    the case is not a two-party dispute and should not be dismissed or
                         analyzed on that basis; and

                 (v)     the case is not a disguised involuntary bankruptcy.

        8.       Moreover, the Court should not abstain from hearing the case under

Section 305 of the Bankruptcy Code or otherwise because the interests of the Debtor

and its creditors are best served by their respective issues being resolved in this Court

rather than in the State Court Action where neither the movant Development nor

any of the Debtor’s known creditors (other than the Lender) are parties to the action.

        9.       Furthermore, Development’s request to have the Lender turn over the

Membership Interests should be denied because (i) the Lender is not the current

custodian of the Membership Interests, (ii) the Membership Interests are not

property of the Debtor’s estate, and (iii) Development is neither the trustee nor the

Debtor and thus is not entitled to have the Membership Interests turned over to it

under Section 543 of the Bankruptcy Code. Turnover under Section 543 of the

Bankruptcy Code is unavailable to Development.

                                       BACKGROUND

        10.      On September 19, 2019, 286 Rider, as borrower, entered into a mortgage

loan (“Loan”) in the original principal amount of $8,000,000.00 with Lender in its

capacity as lender. In connection with the Loan, 286 Rider executed a promissory


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note (as amended, the “Note”) and granted Lender a first priority senior secured

mortgage and security interest in its property owned by the Debtor and located at

286 Rider Avenue, Bronx, New York 10451 (“Property”).

        11.      The Note provides that an Event of Default includes 286 Rider’s failure

to make any payments when due under the Note. On March 2, 2021, the Loan

matured by its terms in accordance with an extended maturity date. A maturity date

notice was sent by the Lender demanding full payment. See Declaration of Ben

Harlev in Support of Lender Response (hereinafter, “Lender Declaration”), Exhibit J,

(Note at p. 3). There can be no dispute that 286 Rider is in default and has not paid

the Note.

        12.      To secure payment of the Note, 286 Rider’s sole member, Development,

pledged its one hundred percent (100%) of the membership interests in 286 Rider

(“Membership Interests”) to Lender under the Pledge Agreement.

        13.      The Pledge Agreement provides, among other things, that upon an

Event of Default, the Lender has a right to have the Membership Interests registered

in its name or its nominee and to exercise control over the Debtor as if it were the

absolute owner. Section 5(a) of the Pledge Agreement provides:

        If an Event of Default shall occur and be continuing, then all
        Membership Interests at Lender’s option, may be registered in the name
        of Lender or its nominee (if not already so registered), and Lender or its
        nominee may thereafter exercise (i) all voting and all equity,
        membership and other rights pertaining to the Membership Interests
        and (ii) any and all rights of conversion, exchange, and subscription and
        any other rights, privileges or options pertaining to such Membership
        Interests as if it were the absolute owner thereof (including, without
        limitation, the right to exchange at its discretion any and all of the
        Membership Interests upon the merger, consolidation, reorganization,

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        recapitalization or other fundamental change in the organizational
        structure of any member or upon the exercise by Pledgor or Lender of
        any right, privilege or option pertaining to such Membership Interests,
        and in connection therewith, the right to deposit and deliver any and all
        of the Membership Interests with any committee, depositary, transfer
        agent, registrar or other designated agency upon such terms and
        conditions as it may determine), all without liability except to account
        for property actually received by it, but Lender shall have no duty to
        exercise any such right, privilege or option and shall not be responsible
        for any failure to do so or delay in so doing.

A copy of the Pledge Agreement is attached to the Lender Declaration as Exhibit B.

        14.      Moreover, the Pledge Agreement could not be waived or modified by

Development, except in a signed writing:

        None of the terms or provisions of this [Pledge] Agreement may be
        waived, amended or otherwise modified except by a written instrument
        executed by a party against which enforcement of such waiver,
        amendment, or modification is sought.

Lender Declaration, Exhibit B (Pledge Agreement) at ¶20.

        15.      On or about September 17, 2019, in connection with the closing on the

Loan, (i) the Debtor executed a Certificate For Limited Liability Company Interests

in 286 Rider (“Certificate”), under which the Debtor certified that Development is the

registered owner of 100% of the limited liability company interests in 286 Rider, and

(ii) Development, by its authorized signatory Moskovits, signed an Assignment of

Interest in blank, selling, assigning and transferring its Membership Interests in 286

Rider and irrevocably appointing the transferee of the Assignment of Interests (i.e.,

the Lender) to transfer the same on the books and records of 286 Rider. A copy of the

Assignment of the Membership Interest signed by Moskovits is attached to the

Lender Declaration as Exhibit G.



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        16.      By letter dated March 2, 2021 (“March 2nd Letter”), the Lender (i)

notified 286 Rider that the Loan matured on March 1, 2021, (ii) demanded immediate

payment of all amounts due under the Loan Documents by 286 Rider, through March

1, 2021, which totaled $8,207,680.65 as of that date, and (iii) advised 286 Rider that

its failure to make payment of all sums due to Lender on or before March 15, 2021

(together with per diem interest) will result in the Lender taking such action as it

considers necessary and appropriate to protect and enforce its rights, (iv) informed

286 Rider that if payment in full is not made before March 15, 2021, interest will

accrue at the default rate as of March 2, 2021, and (v) reserved its rights. A copy of

the March 2nd Letter is attached to the Lender Declaration as Exhibit J.

        17.      286 Rider did not respond to the March 2nd Letter.

        18.      On April 27, 2021, (“April 27th Pledge Notification Letter”), Lender

advised that 286 Rider’s continued failure to pay the amounts due under the Loan

constituted an event of default under the Loan Documents, allowing Lender to

exercise its rights under the Pledge Agreement. As a result, Lender advised Debtor

and pledgor Development that it had assigned, transferred, and registered, as

applicable, all membership and equity interest of Debtor to and in the name of Lender

as if Lender were the absolute owner. This letter also demanded the immediate

turnover of all books and records of the Debtor. A copy of the April 27th Pledge

Notification Letter is attached to the Lender Declaration as Exhibit K.

        19.      On June 14, 2021, Lender appointed 286 Rider Ave Lender LLC (“286

Rider Lender”) as managing member of Debtor by entering into an assignment and



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assumption agreement between Debtor and Lender (“Assignment”). The Assignment

also conveyed the Membership Interests in 286 Rider to 286 Rider Lender. The

Assignment is attached to the Lender Declaration as Exhibit L.

        20.      Neither Development nor 286 Rider ever responded to the April 27th

Pledge Notification Letter. In fact, no response was received from Development until

it filed the Motion.

        21.      Effective July 1, 2021, 286 Rider Lender retained Lee E. Buchwald

(“Buchwald”) as manager of 286 Rider to file a Chapter 11 petition for the Debtor,

manage the Debtor during the bankruptcy case, and oversee the bankruptcy case as

the Debtor’s sole authorized representative.

        22.      By letter dated July 14, 2021 (“July 14th Letter”), Lender’s counsel

advised 286 Rider and Development that (i) 286 Rider was previously notified in the

March 2nd Letter that the Loan matured on the extended maturity date of March 1,

2021, (ii) by the April 27th Pledge Notification Letter, 286 Rider was notified that its

failure to pay all sums due under the Loan constituted an Event of Default under the

Loan Documents, (iii) because of the Event of Default, Lender executed its right under

the Pledge Agreement to assign, transfer and register the Membership Interests in

and to the name of the Lender as if the Lender was the absolute owner thereof. The

July 14th Letter confirmed again that the Lender had exercised its rights under the

Pledge Agreement and made a second demand for all the books and records of the

Debtor. A copy of the July 14th Letter is attached to the Lender Declaration as Exhibit

M.



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        23.      On July 15, 2021, Lee Buchwald, the manager of 286 Rider, duly

authorized the Debtor’s filing of its Chapter 11 bankruptcy case. Resolutions were

adopted that 286 Rider should (i) file for bankruptcy protection, (ii) obtain debtor in

possession financing (subject to court approval), (iii) retain Robinson Brog Leinwand

Greene Genovese & Gluck P.C. as bankruptcy counsel, and (iv) retain Rosewood

Realty Group, as real estate broker, to sell the Property. A copy of the resolution is

attached as the Declaration of Buchwald in Support of Response (“Buchwald

Declaration”) as Exhibit A.

        24.      On July 15, 2021, 286 Rider filed for voluntary relief under Chapter 11

of the Bankruptcy Code.

        25.      As a result of (i) the membership change brought on by 286 Rider’s

default under the Loan and the Lender’s exercise of its rights under the Pledge

Agreement, and (ii) transferring the Membership Interests in 286 Rider to 286 Rider

Lender, the Debtor is currently not in possession of its books and records and could

not file its list of 20 largest unsecured creditors, schedules, and statement of financial

affairs.

        26.      As the new owners of the Debtor had no access to the Debtor’s books and

records to prepare its schedules and statement of financial affairs, on July 15, 2021,

the Debtor filed an application (“Rule 2004 Application”) under Bankruptcy Rule

2004 to subpoena the Debtor’s books and records and examine Moskovits and

Lichtenstein to obtain the information needed to prepare and file a complete set of

schedules and statement of financial affairs.



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        27.      On July 15, 2021, the Debtor also moved to extend its deadline to file its

schedules and statement of financial affairs so that upon receipt of its books and

records and other financial information, the Debtor will have sufficient time to review

all information and complete its schedules and statement of financial affairs.

        28.      By Order dated July 16, 2021 (“Rule 2004 Order”), this Court granted

the 2004 Application. As a result, and through counsel, Debtor issued subpoenas for

Rule 2004 examinations seeking documents from (i) Development, Moskovits and

Lichtenstein by August 5, 2021 and the examination of Lichtenstein on August 9,

2021 and Moskovits on August 12, 2021. Rule 2004 subpoenas were served on counsel

for Development, Moskovits and Lichtenstein, who represented that he accepted

service of the subpoenas with his client’s consent. No documents have been produced

and thus both Lichtenstein and Moskovits have not been examined.

        29.      By order dated July 21, 2021, this Court extended the Debtor’s deadline

to file its Statement of Financial Affairs and Schedule of Assets and Liabilities and

other documents to and including August 26, 2021.

        30.      On August 3, 2021, Development filed its Objection To Order Granting

286 Rider Ave Acquisition LLC’s Ex-Parte Motion For Entry Of An Order Pursuant

To Bankruptcy Rule 2004 Authorizing Discovery Examinations Of (I) Moskovitz And

(II) Lichtenstein (“Rule 2004 Objection”).         Subsequently, on August 12, 2021,

Development filed a motion under Federal Rule of Bankruptcy Procedure 9023 and

Federal Rule of Civil Procedure 60 for relief from the Rule 2004 Order, inter alia,

authorizing discovery examinations of (i) Moskovits and (ii) Lichtenstein.



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          31.    As Moskovits and Lichtenstein have refused to timely turn over the

Debtor’s books and records or comply with the Rule 2004 subpoenas, on August 12,

2021, the Debtor filed a second motion to extend the deadline to file its statement of

financial affairs and schedules. The hearing on the motion is scheduled for August

26, 2021.

                                           ARGUMENT

          32.    Development incorrectly asserts that (i) the Court should dismiss or

abstain from hearing the bankruptcy case in favor of the State Court Action, and (ii)

the Lender should turn over the Membership Interests to it.                        Contrary to

Development’s contentions, and as addressed below and in the Lender Response,4 the

Court should not abstain in favor of the State Court Action. The bankruptcy case was

not filed in bad faith but was properly filed because (i) the Lender properly exercised

its rights under the Pledge Agreement, (ii) the Lender properly assigned its

Membership Interests in 286 Rider to 286 Rider Lender, (iii) 286 Rider properly

retained Buchwald as manager of the Debtor, and (v) Buchwald properly determined

to file for bankruptcy on behalf of 286 Rider. Moreover, as set forth below, there is

no basis for the Lender to turn over the Membership Interests in the Debtor to

Development.




4   The Debtor hereby joins and incorporates by reference the Lender Response.


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        Dismissal Is Not Warranted Under Section 305 of the Bankruptcy Code

        33.      Development asserts that the Court should abstain from hearing this

case and dismiss it under Section 305(a)(1) of the Bankruptcy Code. Section 305(a)(1)

provides as follows:

        The court, after notice and a hearing, may dismiss a case under this title
        or may suspend all proceedings in a case under this title, at any time if
        … the interests of creditors and the debtor would better be served by
        such dismissal or suspension.

11 U.S.C. §305(a)(1).

        34.      “The courts that have construed §305(a)(1) are in general agreement

that abstention in a properly filed bankruptcy case is an extraordinary remedy, and

that dismissal is appropriate under §305(a)(1) only in the situation where the court

finds that both ‘creditors and the debtor’ would be better served by a dismissal.” In

re Monitor Single Lift I Ltd., 381 B.R. 455, 462 (Bankr. S.D.N.Y. 2008).

        35.      “Granting an abstention motion pursuant to §305(a)(1) requires more

than a simple balancing of harm to the debtor and creditors; rather, the interests of

both the debtor and its creditors must be served by granting the requested relief.” Id.

Moreover, “[t]he moving party bears the burden to demonstrate that the interests of

the debtor and its creditors would benefit from dismissal or suspension of proceedings

under §305(a)(1).” Id. at 462-63. See In re Condominium Association of Plaza Towers

South, Inc., 43 B.R. 18, 20 (Bankr. S.D. Fla 1984) (“[G]iven the non-appealability of

dismissal under §305 of the Bankruptcy Code, this Court finds that [creditor] carries

a substantial burden in advocating abstention in this case …)”.




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        36.      Courts have found these seven factors relevant to the decision whether

to abstain:

        (1) the economy and efficiency of administration; (2)whether another
        forum is available to protect the interests of both parties or there is
        already a pending proceeding in state court; (3) whether federal
        proceedings are necessary to reach a just and equitable solution; (4)
        whether there is an alternative means of achieving an equitable
        distribution of assets; (5) whether the debtor and the creditors are able
        to work out a less expensive out-of-court arrangement which better
        serves all interests in the case; (6) whether a non-federal insolvency has
        proceeded so far in those proceedings that it would be costly and time-
        consuming to start afresh with the federal bankruptcy process; and
        (7)the purpose for which bankruptcy jurisdiction has been sought.

Monitor, 381 B.R. at 464-465. “While all factors are considered, not all are given

equal weight in every case.” Id. at 465. Moreover, when evaluating these factors, the

Court should consider that Development is not a creditor of the Debtor’s estate, but

a disgruntled former owner of the Debtor that has provided no evidence to meet its

burden.

        37.      Instead of evidence, Development mistakenly relies on the state court

litigation5 filed by Heritage 875 4th Avenue LLC, Heritage 286 Rider Ave LLC, 875

4th Avenue Acquisition LLC, 286 Rider Avenue Acquisition LLC, Toby Moskovitz and

Michael Lichtenstein (collectively, “State Court Plaintiffs”) against Aviv Arava

Management, LLC, Be-Aviv 4th Avenue Mortgage Lender LLC, Be-Aviv 286 Rider

LLC, Be-Aviv 4th Avenue Lender LLC, Ben Harlev and Eyal Epstein (collectively,

“State Court Defendants”) in the Supreme Court of the State of New York, County of



5 Plaintiff in the State Court Action appear to be parties related to Development. Still, Development
is not a plaintiff or a defendant in the State Court Action for which it is seeking abstention. Nor does
Development appear to be a creditor of the Debtor. It appears merely to be a former interest holder.

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Kings6 (“State Court Action”) for its contention that this Court should abstain from

hearing this bankruptcy case in favor of the State Court Action. For the reasons

below, the seven factors establish that Development has not satisfied its burden to

show that the interests of the Debtor and its creditors would affirmatively benefit

from dismissal or suspension of the bankruptcy case under §305(a)(1).

        Factors 1, 2 and 3 - Contrary to Development’s contention, the State
        Court Action does not resolve the “central issues”. The litigation
        concerns three loans by different lenders to different borrowers
        concerning two pieces of property, only one of which is estate property.
        Development is not a party to the State Court Action, and thus any
        issues that it may have, including its motion to turn over the
        Membership Interests, will not be resolved in that litigation.
        Furthermore, the State Court Action is in its infancy and has barely
        progressed: (i) not all the State Court Defendants have been served with
        the summons and complaint, (ii) the State Court Defendants that have
        been served have not answered the complaint, (iii) no discovery has been
        taken in the State Court Action, (iv) no discovery deadlines have been
        set, (v) no dispositive motions have been filed, and (vi) the parties are
        not ready for trial. Lender Response at ¶¶ 60-70. Thus, there is no
        economy and efficiency of administration by abstaining because other
        than the Lender, the Debtor’s creditors are not parties to the State Court
        Action and their respective claims cannot be resolved in that litigation.
        The Debtor is a State Court Plaintiff in the State Court Action and none
        of the creditor’s rights would be protected in that action. In contrast, all
        creditors and parties in interest have a right to be heard in the
        bankruptcy case, and the creditors’ claims can be resolved in the
        bankruptcy case. Thus, a federal bankruptcy proceeding is necessary to
        reach a just and equitable solution for all creditors, including 286 Rider
        Associates LLC, which has a $1,178,725 Judgment By Confession
        against the Debtor. A copy of the Judgment by Confession is attached
        to the Lender Declaration as Exhibit O.

        Factor 4 –Without providing any factual support or any analysis for its
        position, Development asserts that “there is undoubtedly an alternative
        means of achieving an equitable distribution of assets in this dispute,
        and that is to allow the State Court [Action] continue to resolve the
        central issues between the parties.” As demonstrated above, the central

6 Venue in this action has since been transferred to New York County in accordance with the venue
selection provision in the operative Loan Documents.

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        issue in the State Court Action is a dispute between the several
        borrowers, including 286 Rider, and their lenders; it has nothing to do
        with an equitable distribution of assets to the Debtor’s creditors as it
        does not provide an opportunity for the Debtor’s creditors to resolve their
        claims in the State Court Action. It is not an alternative means of
        achieving an equitable distribution of assets.

        Factor 5 - Although it is unclear whether the Debtor and its creditors
        will be able to work-out a less expensive out-of-court arrangement which
        better serves all interests in the case, it is clear that mediation between
        non-creditor Development (who is not a party to the State Court Action)
        and the Debtor will not serve all interests in the case because without
        selling the Property in bankruptcy and distributing the sale proceeds in
        order of the creditor’s respective priorities, creditors’ claims will not be
        addressed.

        Factor 6 –No state insolvency proceeding has commenced and thus it is
        not costly and time consuming to start afresh with the federal
        bankruptcy process, especially because the State Court Action will not
        address (i) the claims of all parties, and (ii) the issues that Development
        raised in its Motion in this Court.

        Factor 7 –Contrary to Development’s contention, the Debtor filed the
        bankruptcy case and not the Lender. The Debtor’s purpose in filing the
        bankruptcy case is to maximize the sale of the Property and pay all the
        Debtor’s allowed claims in the order of their respective priority.

        38.      Thus, the seven factors show that neither dismissal or suspension is

appropriate because the Debtor and its creditors are not better served by the Court

abstaining or dismissing the bankruptcy case. As for the Debtor’s actual creditors,

dismissal or abstention is not in their best interest as between the State Court Action

and this bankruptcy proceeding, only the bankruptcy proceeding provides a

mechanism for them to liquidate the Debtor’s assets and resolve their claims in the

order of their priority. In contrast, the current State Court Action resolves no claims

against the Debtor and does not affect any of Debtor’s creditors other than the Lender.

Thus, as dismissal and abstention are not in the interests of both the Debtor and its

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creditors, Development’s Motion under Section 305 of the Bankruptcy Code therefore

should be denied. See In re Foundry of Barrington P’ship, 129 B.R. 550, 555 (Bankr.

N.D. Ill. 1991) (denying motion to dismiss under Section 305 of the Bankruptcy Code

when dismissal is not in the interest of the debtor and other creditors).

        39.      Despite Judge Glenn’s ruling in Monitor that granting an abstention

motion under Section 305 of the Bankruptcy Code both the interest of the debtor and

the creditors must be served, Development seeks to rely on In re Duratech Indus,

Inc., 241 B. R. 291 (Bankr. E.D.N.Y. 1999) for the proposition that courts have (i)

dismissed chapter 11 proceedings over the objection of debtors and (ii) dismissed or

abstained from hearing bankruptcy cases under Section 305(a)(1) of the Bankruptcy

Code on the same or similar factual predicates as this case. Development’s reliance

on Duratech is misplaced as that case was not suspended over the objection of the

debtor and factual predicates between the cases are not similar and easily

distinguishable.

        40.      In Duratech, Judge Bernstein, on his own sua sponte motion,

determined that the Court should abstain from (or suspend) any further

administration of the dormant chapter 11 case under sections 105 and 305(a)(1) of

the Bankruptcy Code until the various substantive matters between the creditor and

the debtor are determined by the U.S. Magistrate Judge and the U.S. District Court

Judge in several different matters. Id. at 292-293. In that case, the District Court

was actively involved for many months in the pending civil action between the

creditor and the debtor, and the litigation “ha[d] proceeded fairly far down the road



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toward a full determination of the merits ….” Id. at 293.         Moreover, Duratech’s

counsel continually pointed out during the bankruptcy case that his client’s ability to

reorganize turned on its successful prosecution of civil claims against the creditor.

Furthermore, the Bankruptcy Court determined that no party in interest could

propose a plan in good faith that could be confirmed given the contingency of the

litigation between the parties. As a result, the Bankruptcy Court determined that

there was no justification to administer a dormant chapter 11 case in which its

success or failure depends on the outcome of the pending litigation before the

Magistrate/District/Appeals Court. Thus, the Duratech Court determined that it was

in the interests of both creditors and the debtor that it suspend any further

proceedings to conserve the debtor’s modest resources. Id. at 296. This case is easily

distinguishable from Duratech. Here, the State Court Action is in its infancy and the

State Court Defendants have not even answered the complaint. Second, the Debtor’s

bankruptcy does not turn on the outcome of a litigation against the Lender. Third,

unlike Duratech, Debtor’s counsel is advising the Court that suspension is not in its

interest and that it can sell the Property and confirm a plan without waiting for the

results of the State Court Action, which could take years and does not involve the

movant Development or any of the Debtor’s other creditors (other than the Lender).

        41.      Development’s reliance on In re Northshore Mainland Services, Inc., 537

B.R. 192 (Bankr. D. Del 2015) and In re of Fitzgerald Group, 38 B.R. 16 (Bankr.

S.D.N.Y 1983) is also misplaced, as those cases are easily distinguishable. In

Northshore Mainland Services, the debtors consisted of several Bahamian


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corporations and a Delaware corporation. Creditors moved to dismiss the bankruptcy

cases under Sections 305 and 1112 of the Bankruptcy Code. The Court denied the

motion under Section 1112 of the Bankruptcy Code and with respect to the motion

under Section 305 of the Bankruptcy Code, it denied the motion as to the Delaware

corporation (retaining jurisdiction over the case) and granted the motion to dismiss

as to the Bahamian companies’ bankruptcy cases because (i) the central focus of the

proceeding was an unfinished resort in the Bahamas, (ii) the government of the

Bahamas had a deep and important economic interest in the future of the project, (iii)

the Bahamian Supreme Court had appointed provisional liquidators with limited

powers to preserve debtors’ assets while promoting a plan of compromise among all

stakeholders, (iv) the proceedings that occurred to date in the Bahamian Supreme

Court demonstrated that the debtors were being treated fairly and impartially, (v)

many stakeholders in the project would likely expect that any insolvency proceedings

would take place in the Bahamas, (vi) there was no evidence that the Bahamian laws

contravened U.S. public policy, and (vii) there were considerations of comity as a

result of the foreign insolvency proceeding. Northshore, 537 B.R. at 205-208.

        42.      Northshore is also clearly distinguishable from the present case on the

facts. In fact, the Delaware court dismissed only with respect to the Bahamian

companies in favor of the Bahamian insolvency proceedings after concluding that

“considerations of comity support abstention pursuant to §305(a).” Id. at 208.

        43.      Finally, Fitzgerald Group is easily distinguishable as well. In that case,

the Court dismissed the bankruptcy case under Section 305 of the Bankruptcy Code



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where (i) the debtor had one asset valued at $2,500, (ii) there were nine unsecured

creditors without priority with total claims of approximately $23,000, (iii) the debtor

failed to file operating statements, a plan or a disclosure statement, and (iv) the

partnership was dissolved under New York Partnership Law as one of the two

partners died and the partnership only continued to exist to wind up the affairs of

the partnership. Fitzgerald, 38 B.R. at 18. The Court indicated that the primary

consideration should be given to the efficiency and the economy of administration. Id.

Thus, in dismissing the case, the Bankruptcy Court found that the interests of the

debtor and creditors would be better served by the debtor winding up the partnership

in accordance with New York Partnership Law rather than in a federal forum, given

that the unsecured debts are minimal without priority, the only asset is valued at

$2,500, and the administration of the estate would deplete the estate further and not

serve the interests of either the creditors or the debtor. Id. This is not our case. The

Debtor is not liquidating under New York Partnership Law and it is in the interest

of the Debtor and creditors to proceed with the bankruptcy case so that the creditor

claims can be resolved and paid in the order of their respective priority.

                        Bankruptcy Case Was Not Filed in Bad Faith

        44.      Development contends that there are multiple indicia of bad faith in this

case which warrant dismissal of the bankruptcy case. Contrary to Development’s

assertions, as set forth below and in the Lender’s Response, there was no bad faith

by either the Lender or the Debtor that warrants dismissal of the bankruptcy case.




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For the reasons below, Development’s Motion on the basis the Debtor’s case was

commenced in bad faith should be denied.

                     Pledge Agreement Is Valid and Should Be Enforced

        45.      Development contends that the Pledge Agreement is invalid and void

because the proper party on behalf of pledger Development did not execute the

Pledge Agreement. As explained in more detail in the Lender Response (which the

Debtor joins), Development is wrong. Contrary to Development’s contention that no

consent was executed authorizing Moskovits, on behalf of Development, to execute

the Pledge Agreement, on September 19, 2019, Moskovitz, Lichtenstein,

individually and on behalf of Development, 286 Rider Ave Holdings LLC, and

Heritage 286 Rider Ave LLC executed a Written Consent In Lieu of a Meeting

authorizing Moskovits to execute, among other things, the Pledge Agreement. A

copy of the Written Consent in Lieu of a Meeting is attached to the Lender

Declaration as Exhibit H. Moreover, on September 15, 2019, 286 Rider and

Development executed a “Document Re-Execution Agreement”, which authorized

Moskovits and Lichtenstein on behalf of 286 Rider and Development to re-execute

any document or instrument signed in connection with the Loan which was

incorrectly drafted or signed. A copy of the Document Re-Execution Agreement is

attached to the Lender Declaration as Exhibit F. The Court is respectfully referred

to Lenders Response at ¶¶51-56 for additional support for the validity of the Pledge

Agreement.




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                            Lender Was Not Required to Foreclose on
                      Membership Interests to Gain Control Over Debtor

        46.      The Debtor joins and incorporates the arguments set forth in the Lender

Response at ¶¶43-50 that Lender was not required to foreclose on the Membership

Interests to properly exercise its rights. See, In re Riverair LLC, Case No. 04-17586

(SMB), Bankr. S.D.N.Y 2005, citing, In re Domestic Fuel Corp., 71 B.R. 734, 738

(Bankr. S.D.N.Y. 1987) (dicta); In re Eastern Bancorporation, 23 B.R. 474, 478

(Bankr. E.D. Pa. 1982).

                     Bankruptcy Case Was Not Filed as a Litigation Tactic

        47.      Development contends that the Lender is using the bankruptcy process

as a litigation tactic because the State Court Action is a two-party dispute involving

only state law claims for the purported Lender’s misconduct and alleged defaults by

Lender under the Loan.7

        48.      Development asserts, among other things, that (i) this case should be

dismissed because the bankruptcy case is a two-party dispute (although it does not

make it clear which two parties are in dispute) and (ii) the Debtor only has three

unsecured creditors with claims totaling approximately $1,000,000 (although the

Motion does not identify the creditors). In the bankruptcy context, a typical two-

party dispute is usually between a secured creditor trying to foreclose on its collateral

and a debtor (trying to prevent the foreclosure). Here, the movant Development is

neither a creditor of the Debtor nor a party in the State Court Action.8 Rather, it is


7Debtor joins and incorporates the Lender Response with respect to Development’s contentions.
8The State Court Plaintiffs are Heritage 875 4th Avenue LLC, Heritage 286 Rider Ave LLC, 875 4th
Avenue Acquisition LLC, 286 Rider Avenue Acquisition LLC, Toby Moskovitz and Michael

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a disgruntled former owner of the Debtor with no claim other than its motion to turn

over the Membership Interests, which fails for the reasons set forth below.

        49.      Although the Debtor is currently without its books and records because

Moskovits and Lichtenstein have not produced it in violation of the Court’s Rule 2004

Order and the subpoenas that were issued in connection therewith, the Debtor is

aware of the following:9

                 (i)      a Judgment by Confession in favor of 286 Rider Associates, LLC
                          in the amount of $1,178,725, entered on December 17, 2020, a
                          copy of which is attached to the Lender Declaration as Exhibit O;

                 (ii)     outstanding real estate taxes owed as of June 5, 2021, in the
                          amount of $54,421.82, as evidenced by the NYC Department of
                          Finance Property Tax Bill Quarterly Statement, a copy of which
                          is attached to the Buchwald Declaration as Exhibit B;

                 (iii)    anticipated10 attorneys’ fees were incurred in the State Court
                          Action by the State Court Plaintiffs, including the Debtor, to their
                          attorneys — Goldberg & Markus PLLC and Jonathan Schwartz
                          Law LLC in an unknown amount;

                 (iv)     the Lender is owed more than $8,000,000 based on the Loan and
                          the Loan Documents plus interest, default interest, protective
                          advances, legal fees, and other charges due under the loan in the
                          approximate amount of not less than $8,207,680.65 as of March
                          1, 2021; and

                 (v)      there may be claims by (i) an insurance company for coverage on
                          the warehouse structure located on the premises at 286 Rider
                          Avenue and Property and (ii) one or more utility companies if
                          utilities were used but remain unpaid.

Lichtenstein, and the State Court Defendants are Aviv Arava Management, LLC, Be-Aviv 4th
Avenue Mortgage Lender, LLC, Be-Aviv 286 Rider LLC, Be-Aviv 4th Avenue Lender, LLC, Ben
Harlev and Eyal Epstein.
9 In addition to the creditors that the Debtor is aware of based upon publicly available information,

Development served three additional entities identified as creditors of the Debtor with the Motion —
Fischer Makooi Architects, Titan Engineers PC, and Robert Newblatt — although the Motion does
not set forth the amounts owed to each creditor
10 The amount is unknown because the Debtor has not had access to its books and records.




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        50.      Thus, even without the Debtor’s books and records, this case is not a

mere two-party dispute. See In re Euro-American Lodging Corp., 357 B.R. 700, 730

(Bankr. S.D.N.Y. 2007) (Court declined to abstain or dismiss an involuntary petition,

even though debtor had at most eight creditors as of the petition date); In re Lake

Mich. Beach Pottawattamie Resort LLC, 547 B.R. 899, 908 (Bankr. N.D. Ill. 2016

(Court did not find bad faith two party dispute when debtor had at least three

scheduled creditors) In re Cent. Jersey Airport Servs., 282 B.R. 176, 180 (Bankr.

D.N.J. 2002) (case with 13 creditors cannot be characterized as a two-party dispute);

see also In re Sletteland, 260 B.R. 657, 667 (Bankr. S.D.N.Y. 2001) (case with just a

few creditors is more than a two-party collection dispute where other parties’ rights

could be impacted). Finally, the alleged two-party dispute does not even involve

Development as it is neither a party to the State Court Action nor a creditor in this

case.

                          The Equity of Redemption Is Not Clogged

        51.      Development contends that the Lender’s improper actions clogged the

equity of redemption. As explained in the Lender Response, Development’s argument

has no support in law and would invalidate billions of dollars of security. Further, the

equity of redemption, a creature of state law is not destroyed by the filing of s chapter

11 case but merely is another property right belongs to the borrower, and upon the

bankruptcy filing becomes part of the Debtor’s estate and like any other asset subject

to Section 541 of the Bankruptcy Code. In re Haynes, 283 B.R. 147, 155–56 (Bankr.

S.D.N.Y. 2002) (citing Canney v. Merchants Bank, 284 F.3d 362, 372 (2d Cir. 2002)).

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The Debtor joins and incorporates the Lender’s Response on this issue as if it were

fully set forth herein. See Lender Response at ¶¶74-84.

        52.      Development contends that it has established a prima facie case for

turnover of the Membership Interests. Development has mangled the statute and is

just plain wrong.

        53.      Section 543 of the Bankruptcy Code provides:

        (a) A custodian with knowledge of the commencement of a case under
        this title concerning the debtor may not make any disbursement from,
        or take any action in the administration of, property of the debtor,…or
        property of the estate, in the possession, custody, or control of such
        custodian, except such action as is necessary to preserve such property.

        (b) A custodian shall – (1) deliver to the trustee any property of the
        debtor held by or transferred to such custodian, or proceeds, product,
        offspring, rents or profits of such property, that is in such custodian’s
        possession, custody, or control on the date that such custodian acquires
        knowledge of the commencement of the case…

11 U.S.C. §543(a) and (b)(1).

        54.      Based on Section 543 of the Bankruptcy Code, the Lender need not turn

over the Membership Interests to Development because (i) it is not holding the

Membership Interests as they were assigned to 286 Rider Lender on June 14, 2021,

(ii) the Membership Interests are not property of the Debtor’s estate and the statute

only applies to such property, and (iii) under Section 543, property of the Debtor shall

be turned over to the trustee (or debtor in possession) and Development is neither.

As a result, Section 543 does not apply and there is no basis under Section 543 for

any entity to turn over the Membership Interests to Development.

        Bankruptcy Case Is Not a Disguised Involuntary Bankruptcy Case



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        55.      Development asserts that the Lender’s actions are a bad faith filing and

“a disguised involuntary proceeding where the debt is in bona fide dispute” because

it is using the bankruptcy forum as a collection device without exhausting its state

law remedies. Motion at p. 3. As shown above and in the Lender’s Response, the

filing of the bankruptcy case is not a bad faith filing. The Motion fails to set forth

any facts or law or seek any relief that supports its contention that the Debtor’s

authorized voluntary filing of a bankruptcy case should be considered a disguised

involuntary proceeding. As Development has failed to assert any factual or legal

basis for this contention, it should be rejected.

        WHEREFORE, Debtor submits that the Court deny Development’s Motion in

its entirety.

Dated:           New York, New York
                 August 19, 2021


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